                     IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA


MICHAEL P. NICHOLLS,                    )
                                        )
                             Plaintiff, )
                                        )
      vs.                               )
                                        )
PACIFIC AND ARCTIC RAILWAY AND          )
NAVIGATION COMPANY, d/b/a WHITE         )
PASS & YUKON ROUTE,                     )
                                        )                    No. 1:18-cv-0001-HRH
                             Defendant. )
_______________________________________)



                                         ORDER

                                      Case Dismissed
       Having reviewed the parties’ Stipulation for Dismissal with Prejudice,1 filed

August 15, 2019,

       IT IS HEREBY GRANTED. All claims brought or that could have been brought
in this case, are now dismissed with prejudice, the parties to bear their respective costs
and fees.

       DATED at Anchorage, Alaska, this 19th day of August, 2019.


                                                  /s/ H. Russel Holland
                                                  United States District Judge




       1
        Docket No. 64.

ORDER – Case Dismissed                                                                   -1-

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